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 Attorney or Party Name, Address, Telephone & FAX                                 FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
Tyneia G. Merritt, Esq. (SBN 235750)
MERRITT LAW, INC., APLC
10670 Civic Center Drive, Suite 210
Rancho Cucamonga, CA 91730
Tel: 909-476-0651
E-Fax: 909-303-9013
Email: tye@mlawinc.Com




                                                                             




  Movant appearing without an attorney
  Attorney for Movant

                                      UNITED STATES BANKRUPTCY COURT
                               CENTRAL DISTRICT OF CALIFORNIA - RIVERSIDE DIVISION

 In re:                                                                           CASE NO.: 6:17-bk-10928-WJ
 Peggy Irene Clelland aka Peggy Irene Casey and                                   CHAPTER: 7
 Joel Douglas Clelland aka Joel Douglas
                                                                                      NOTICE OF MOTION AND MOTION
                                                                                   FOR RELIEF FROM THE AUTOMATIC STAY
                                                                                            UNDER 11 U.S.C. § 362
                                                                                        (with supporting declarations)
                                                                                              (REAL PROPERTY)
                                                                                  DATE: April 12, 2018
                                                                                  TIME: 10:00 a.m.
                                                              Debtor(s).          COURTROOM: 304

 Movant: Deutsche Bank National Trust Company, as Trustee, for IndyMac Home Equity Mortgage Loan Asset-
         backed Trust, Series 2006-H1




1. Hearing Location:

     255 East Temple Street, Los Angeles, CA 90012                                     411 West Fourth Street, Santa Ana, CA 92701
     21041 Burbank Boulevard, Woodland Hills, CA 91367                                 1415 State Street, Santa Barbara, CA 93101
     3420 Twelfth Street, Riverside, CA 92501

2. Notice is given to the Debtor and trustee (if any)(Responding Parties), their attorneys (if any), and other interested
   parties that on the date and time and in the courtroom stated above, Movant will request that this court enter an order
   granting relief from the automatic stay as to Debtor and Debtor's bankruptcy estate on the grounds set forth in the
   attached Motion.

3. To file a response to the motion, you may obtain an approved court form at www.cacb.uscourts.gov/forms for use in
   preparing your response (optional LBR form F 4001-1.RFS.RESPONSE), or you may prepare your response using
   the format required by LBR 9004-1 and the Court Manual.


NtcMfr_CAC_X02                                                                                                                              4126-N-7663
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4. When serving a response to the motion, serve a copy of it upon the Movant's attorney (or upon Movant, if the motion
   was filed by an unrepresented individual) at the address set forth above

5. If you fail to timely file and serve a written response to the motion, or fail to appear at the hearing, the court may deem
   such failure as consent to granting of the motion.

6.  This motion is being heard on REGULAR NOTICE pursuant to LBR 9013-1(d). If you wish to oppose this motion,
     you must file and serve a written response to this motion no later than 14 days before the hearing and appear at
     the hearing.

7.  This motion is being heard on SHORTENED NOTICE pursuant to LBR 9075-1(b). If you wish to oppose this
     motion, you must file and serve a response no later than (date) ____________ and (time) __________; and, you
     may appear at the hearing.

    a.  An application for order setting hearing on shortened notice was not required (according to the calendaring
         procedures of the assigned judge).

    b.  An application for order setting hearing on shortened notice was filed and was granted by the court and such
         motion and order have been or are being served upon the Debtor and upon the trustee (if any).

    c.    An application for order setting hearing on shortened notice was filed and remains pending. After the court
           rules on that application, you will be served with another notice or an order that specifies the date, time and
           place of the hearing on the attached motion and the deadline for filing and serving a written opposition to the
           motion.



Date:    March 9, 2018                                                            MERRITT LAW, INC., APLC
                                                                                  Printed name of law firm (if applicable)
                                                                                  Tyneia G. Merritt, Esq.
                                                                                  Printed name of individual Movant or attorney for Movant



                                                                                  /s/ Tyneia G. Merritt
                                                                                  Signature of individual Movant or attorney for Movant




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             MOTION FOR RELIEF FROM THE AUTOMATIC STAY AS TO REAL PROPERTY
1. Movant is the:

     Holder: Movant has physical possession of a promissory note that either (1) names Movant as the payee under
      the promissory note or (2) is indorsed to Movant, or indorsed in blank, or payable to bearer.
    Beneficiary: Movant is either (1) named as beneficiary in the security instrument on the subject property (e.g.,
      mortgage or deed of trust) or (2) is the assignee of the beneficiary. SEE CONTINUATION PAGE FOR
      STATEMENT.
     Servicing agent authorized to act on behalf of the Holder or Beneficiary.
     Other (specify):

2. The Property at Issue (Property):

    a. Address:
         Street address:                1339 Alta Ave
         Unit/suite number:
         City, state, zip code:         Upland, California 91786
    b. Legal description, or document recording number (including county of recording), as set forth in Movant's deed of
       trust (attached as Exhibit 2): 2005-0940520 in San Bernardino County

3. Bankruptcy Case History:

    a. A  voluntary  involuntary bankruptcy petition under chapter  7  11  12  13
       was filed on (date): 2/7/2017.
    b. An order to convert case to chapter  7  11  12  13 was entered on (date) _____________.
    c.   A plan, if any, was confirmed on (date) ____________.

4. Grounds for Relief from Stay:

    a.  Pursuant to 11 U.S.C. § 362(d)(1), cause exists to grant Movant relief from stay as follows:
         (1)  Movant's interest in the Property is not adequately protected.
              (A)  Movant's interest in the Property is not protected by an adequate equity cushion.
              (B)  The fair market value of the Property is declining and payments are not being made to Movant
                    sufficient to protect Movant's interest against that decline.
              (C) Proof of insurance regarding the Property has not been provided to Movant, despite the Debtor's
                    obligation to insure the collateral under the terms of Movant's contract with the Debtor.
         (2) The bankruptcy case was filed in bad faith.
              (A) Movant is the only creditor, or one of very few creditors, listed or scheduled in the Debtor's case
                    commencement documents.
              (B)  The Property was transferred to the Debtor either just before the bankruptcy filing or after the filing.
              (C)  A non-individual entity was created just prior to the bankruptcy petition date for the sole purpose of
                    filing this bankruptcy case.
              (D)  Other bankruptcy cases have been filed in which an interest in the Property was asserted.
              (E)  The Debtor filed only a few case commencement documents with the bankruptcy petition. Schedules
                    and the statement of financial affairs (or chapter 13 plan, if appropriate) have not been filed.
              (F)  Other (see attached continuation page)



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In re:                  (Short Title)                                     Chapter: 7
 Peggy Irene Clelland aka Peggy Irene Casey and                           Case No.       6:17-bk-10928-WJ
 Joel Douglas Clelland aka Joel Douglas
                                Debtor(s).

                                                  CONTINUATION PAGE


   (MOVANT: Deutsche Bank National Trust Company, as Trustee, for IndyMac Home Equity
                  Mortgage Loan Asset-backed Trust, Series 2006-H1)


                                                         ATTACHMENT 1.
    1. STANDING STATEMENT:

         Specialized Loan Servicing LLC services the loan on the Property referenced in this Motion. In the event the
         automatic stay in this case is modified, this case dismisses, and/or the Debtor obtains a discharge and a
         foreclosure action is commenced on the mortgaged property, the foreclosure will be conducted in the name of
         Movant or Movant's successor or assignee. Movant, directly or through an agent, has possession of the Note. The
         Note is either made payable to Movant or has been duly endorsed. Movant is the original mortgagee or
         beneficiary or the assignee of the Mortgage/Deed of Trust.




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                          Continuation Page 3 - to Motion for Relief from the Automatic Stay as to Real Property
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              (3)  (Chapter 12 or 13 cases only)
              (A) All payments on account of the Property are being made through the plan.
                     Preconfirmation  Postconfirmation plan payments have not been made to the chapter 12
                    trustee or chapter 13 trustee.
              (B) Postpetition mortgage payments due on the note secured by a deed of trust on the Property have not
                    been made to Movant.
         (4) The Debtor filed a Statement of Intentions that indicates the Debtor intends to surrender the Property.
         (5) The Movant regained possession of the Property on (date) ______________,
               which is  prepetition  postpetition.
         (6) For other cause for relief from stay, see attached continuation page.
    b.  Pursuant to 11 U.S.C. § 362(d)(2)(A), the Debtor has no equity in the Property; and, pursuant to §
         362(d)(2)(B), the Property is not necessary to an effective reorganization.
    c.    Pursuant to 11 U.S.C. § 362(d)(3), the Debtor has failed, within the later of 90 days after the order for relief or
           30 days after the court determined that the Property qualifies as "single asset real estate" as defined in 11
           U.S.C. § 101(51B) to file a reasonable plan of reorganization or to commence monthly payments.
    d.  Pursuant to 11 U.S.C. § 362(d)(4), the Debtor's filing of the bankruptcy petition was part of a scheme to delay,
         hinder, or defraud creditors that involved:
              (1)  The transfer of all or part ownership of, or other interest in, the Property without the consent of
                    Movant or court approval; or
              (2)  Multiple bankruptcy cases affecting the Property.
5.  Grounds for Annulment of the Stay. Movant took postpetition actions against the Property or the Debtor.

    a.  These actions were taken before Movant knew the bankruptcy case had been filed, and Movant would have
         been entitled to relief from the stay to proceed with these actions.

    b.  Movant knew the bankruptcy case had been filed, but Movant previously obtained relief from stay to proceed
         with these enforcement actions in prior bankruptcy cases affecting the Property as set forth in Exhibit ___.

    c.    Other (specify):



6. Evidence in Support of Motion: (Declaration(s) MUST be signed under penalty of perjury and attached to this
   motion)

    a. The REAL PROPERTY DECLARATION on page 6 of this motion.
    b.  Supplemental declaration(s).
    c.    The statements made by Debtor under penalty of perjury concerning Movant's claims and the Property as set
           forth in Debtor's case commencement documents. Authenticated copies of the relevant portions of the case
           commencement documents are attached as Exhibit 4.
    d.   Other: The Loan Modification Agreement attached as Exhibit ________..


7.  An optional Memorandum of Points and Authorities is attached to this motion.




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Movant requests the following relief:

1. Relief from the stay is granted under:  11 U.S.C. § 362(d)(1)  11 U.S.C. § 362(d)(2)  11 U.S.C. § 362(d)(3).

2.  Movant (and any successors or assigns) may proceed under applicable nonbankruptcy law to enforce its
     remedies to foreclose upon and obtain possession of the Property.

3.  Movant, or its agents, may, at its option, offer, provide and enter into a potential forbearance agreement, loan
     modification, refinance agreement or other loan workout or loss mitigation agreement. Movant, through its
     servicing agent, may contact the Debtor by telephone or written correspondence to offer such an agreement.

4.  Confirmation that there is no stay in effect.

5.  The stay is annulled retroactive to the bankruptcy petition date. Any postpetition actions taken by Movant to
     enforce its remedies regarding the Property shall not constitute a violation of the stay.

6.  The co-debtor stay of 11 U.S.C. §1201(a) or § 1301(a) is terminated, modified or annulled as to the co-debtor, on
     the same terms and conditions as to the Debtor.

7.  The 14-day stay prescribed by FRBP 4001(a)(3) is waived.

8.  A designated law enforcement officer may evict the Debtor and any other occupant from the Property regardless
     of any future bankruptcy filing concerning the Property for a period of 180 days from the hearing on this Motion:
      without further notice, or  upon recording of a copy of this order or giving appropriate notice of its entry in
         compliance with applicable nonbankruptcy law.

9.  Relief from the stay is granted under 11 U.S.C. § 362(d)(4): If recorded in compliance with applicable state laws
     governing notices of interests or liens in real property, the order is binding in any other case under this title
     purporting to affect the Property filed not later than 2 years after the date of the entry of the order by the court,
     except that a debtor in a subsequent case under this title may move for relief from the order based upon changed
     circumstances or for good cause shown, after notice and hearing.

10.  The order is binding and effective in any bankruptcy case commenced by or against any debtor who claims any
      interest in the Property for a period of 180 days from the hearing of this Motion:
       without further notice, or  upon recording of a copy of this order or giving appropriate notice of its entry in
           compliance with applicable nonbankruptcy law.

11.  The order is binding and effective in any future bankruptcy case, no matter who the debtor may be:
       without further notice, or  upon recording of a copy of this order or giving appropriate notice of its entry in
         compliance with applicable nonbankruptcy law.

12.  Upon entry of the order, for purposes of Cal. Civ. Code § 2923.5, the Debtor is a borrower as defined in Cal. Civ.
      Code § 2920.5(c)(2)(C).

13.  If relief from stay is not granted, adequate protection shall be ordered.

14.  See attached continuation page for other relief requested.

Date:       March 9, 2018                                                          MERRITT LAW, INC., APLC
                                                                                   Printed name of law firm (if applicable)

                                                                                   Tyneia G. Merritt, Esq.
                                                                                   Printed name of individual Movant or attorney for Movant

                                                                                   /s/ Tyneia G. Merritt
                                                                                   Signature of individual Movant or attorney for Movant



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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                 10670 Civic Center Drive, Suite 210, Rancho Cucamonga, CA 91730

A true and correct copy of the foregoing document entitled as NOTICE OF MOTION AND MOTION FOR RELIEF FROM
THE AUTOMATIC STAY UNDER 11 U.S.C. § 362 (with supporting declarations) (REAL PROPERTY) will be served
or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
______________,
 03/09/2018        I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

U.S. Trustee                          Trustee                                                         Debtors' Attorney
ustpregion16.rs.ecf@usdoj.gov         Lynda T. Bui                                                    Julie J. Villalobos
                                      trustee.bui@shbllp.com                                          Julie@oaktreelaw.com
Courtesy NEF: Valerie Smith, claims@recoverycorp.com
                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
           03/09/2018 I served the following persons and/or entities at the last known addresses in this bankruptcy case
On (date) __________,
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.

U.S. Bankruptcy Court Judge                        Debtor                                              Joint Debtor
                                                                                                      Joel Douglas Clelland
Honorable Wayne E. Johnson                         Peggy Irene Clelland                               1339 Alta Avenue
United States Bankruptcy Court,                    1339 Alta Ave                                      Upland, CA 91786
3420 Twelfth Street, Suite 384                     Upland, CA 91786-2812
Riverside, CA 92501-3819

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) __________, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



March 9, 2018                      Priscilla Ramirez                                        /s/Priscilla Ramirez
Date                               Printed Name                                             Signature


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            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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